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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:15CR292
                              )
          v.                  )
                              )
JOSE ALEJANDRO OROPEZA,       )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue sentencing hearing and motion for leave to file

defendant’s sentencing motions out of time (Filing No. 117).                  The

Court finds the motions should be granted.             Accordingly,

           IT IS ORDERED:

           1) The sentencing hearing is rescheduled for:

                 Wednesday, February 8, 2017, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

           2) Defendant shall have until have until February 1,

2017, to file objections, sentencing motions and proposals.

           DATED this 24th day of January, 2017.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
